Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 1 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 2 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 3 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 4 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 5 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 6 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 7 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 8 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 9 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 10 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 11 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 12 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 13 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 14 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 15 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 16 of 17
Case 4:12-cv-10926-TSH Document 1-1 Filed 05/23/12 Page 17 of 17
